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AO 120 (Rev. 08/10)

                              Mail Stop 8                                               REPORT ON THE
              Director of the U.S. Patent and Trademark                         FILING OR DETERMINATION OF AN
TO:                              Office                                         ACTION REGARDING A PATENT OR
                             P.O. Box 1450                                                TRADEMARK
                     Alexandria, VA 22313−1450

       In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
                     filed in the U.S. District Court for the District of New Jersey on the following:
                  ____ Trademarks or X Patents. ( ____ the patent action involves 35 U.S.C. § 292.)

DOCKET NO.            DATE FILED                                    U.S. DISTRICT COURT
2:24−cv−00909−SRC−MAH 2/20/2024                                     NEWARK, NJ
PLAINTIFF                                                           DEFENDANT
TEVA BRANDED PHARMACEUTICAL PRODUCTS                                CIPLA USA, INC.
R&D, INC.



     PATENT OR                   DATE OF PATENT                             HOLDER OF PATENT OR TRADEMARK
  TRADEMARK NO.                  OR TRADEMARK
1 See Attached
Complaint and Exhibits
2
3
4
5

             In the above−−entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED     INCLUDED BY

                                                      ___ Amendment        ___ Answer         ___ Cross Bill        ___ Other Pleading
      PATENT OR                  DATE OF PATENT                             HOLDER OF PATENT OR TRADEMARK
    TRADEMARK NO.                OR TRADEMARK
1
2
3
4
5

            In the above−−entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK OF COURT                                          (BY) DEPUTY CLERK                                          DATE
                                                            s/ William Heim                                         2/20/2024

Copy 1−−Upon initiation of action, mail this copy to Director Copy 3−−Upon termination of action, mail this copy to Director
Copy 2−−Upon filing document adding patent(s), mail this copy to Director Copy 4−−Case file copy
